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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                         :
                                                 :
       v.                                        :       Criminal Action No.: 21-128 (RC)
                                                 :
WILLIAM POPE,                                    :       Re Document No.:      243
                                                 :
       Defendant.                                :

                                            ORDER

                  Regarding Government’s Motion to Clarify, ECF No. 243

       The Government moves for clarification of the Court’s April 25, 2024, Minute Order

granting Defendant William Pope’s motion for permission to travel to Washington, D.C. for the

purpose of taking a Capitol walkthrough tour in preparation for trial. See Gov’t’s Mot. Clarify at

1, ECF No. 243. The Government states that there are no Capitol walkthrough tours scheduled

prior to Defendant’s trial. Id. The Government has also filed a supplemental brief explaining

that Capitol “walkthroughs are scheduled after extensive coordination with various stakeholders

at the Capitol and must be approved by both houses of Congress,” that walkthrough tours cannot

take place “while either chamber is in session,” and that no walkthrough tours are scheduled for

June or July 2024—prior to Defendant’s trial. Gov’t’s Supp. Mot. Clarify at 1, ECF No. 321.

The Government contends that if Defendant wishes to tour the Capitol, he can do so by

scheduling a tour through his Representative or Senator or by taking a public tour through the

Capitol Visitor Center. See Gov’t’s Mot. Clarify at 1.

       In response, Defendant argues that a public tour or a tour scheduled through his

Representative or Senators would be insufficient to prepare for trial because public tours do not

go to all locations in the Capitol that are relevant to Defendant’s case. See Def.’s Opp’n Gov’t’s

Mot. Clarify at 1, ECF No. 245. Defendant has previously argued that he requires an opportunity
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to examine certain locations in the Capitol to rebut the Government’s case-in-chief and prepare

his defense. See Mot. Travel Capitol Walkthrough at 1, ECF No. 231. For instance, Defendant

would like to examine the location where the Government contends Defendant blocked the

Senate Carriage Doors using a flagpole. See id. at 2. And he desires to examine blind spots at

the Capitol that he argues will allow him to show holes in the Government’s timeline of his

conduct. See id.

       Under Federal Rule of Criminal Procedure 16(a)(1)(E), “[u]pon a defendant's request, the

government must permit the defendant to inspect . . . buildings or places . . . if the item is within

the government’s possession, custody, or control and: (i) the item is material to preparing the

defense; [or] (ii) the government intends to use the item in its case-in-chief at trial.” Fed. R.

Crim. P. 16(a)(1)(E). Evidence is “material” under Rule 16 “as long as there is a strong

indication that it will play an important role in uncovering admissible evidence, aiding witness

preparation, corroborating testimony, or assisting impeachment or rebuttal.” United States v.

Slough, 22 F. Supp. 3d 1, 4 (D.D.C. 2014) (internal quotation marks omitted) (quoting United

States v. Lloyd, 992 F.2d 348, 351 (D.C. Cir. 1993)). “Courts maintain ‘considerable discretion’

under Federal Rule of Criminal Procedure 16(d) ‘to regulate discovery’.” See United States v.

McCaughey, 534 F. Supp. 3d 132, 141 (D.D.C. 2021). And upon a showing of good cause,

courts may “deny, restrict, or defer discovery . . . or grant other appropriate relief.” Fed. R.

Crim. P. 16(d).

       As the Court expressed in its April 25, 2024, Minute Order, “[t]he fact that the

government has seen fit to give tours of the Capitol to defense counsel in January 6 cases seems

to be an acknowledgment that inspections of the U.S. Capitol Building and grounds are material

to all January 6 defendants’ defenses.” See Min. Order (April 25, 2024). Inspecting the area




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where the Government alleges Pope’s unlawful conduct took place appears likely to help

Defendant prepare his defense by allowing him to examine the physical characteristics of the

site, corroborate his testimony, and rebut the Government’s proffered testimony. And there

appears to be no argument that the Capitol is a “building[] or place[]” and falls under the ambit

of Federal Rule of Criminal Procedure 16. See Fed. R. Crim. P. 16(a)(1)(E).

       There is some question with respect to whether the Capitol Building is “within the

government’s possession, custody, or control,” see, e.g., United States v. Libby, 429 F. Supp. 2d

1, 7 (D.D.C. 2006) (“[I]t is settled that the government generally need not produce documents

that are in the possession, custody, or control of a separate branch of government such as

Congress.”), but the fact that the Government has arranged Capitol walkthrough tours for

January 6 defendants in the past—and the fact that the Government acknowledges it arranged a

“private Capitol walkthrough tour” for Defendant’s standby counsel in connection with a

different case—demonstrates the Government has at least some “control” over the inspection of

the Capitol Building. Because William Pope, as a pro se defendant, is entitled to the same rights

as other January 6 defendants, he has a right to inspect the Capitol Building and Grounds. The

Court understands that a Capitol walkthrough tour may be difficult for the Government to

arrange, but the Court expects the Government to make diligent efforts to facilitate one.

Accordingly, the Court hereby ORDERS the Government to make its best efforts to arrange,

with help from its partners and stakeholders in Congress, a Capitol walkthrough tour for

Defendant William Pope in the two weeks prior to Defendant’s trial.

       SO ORDERED.


Dated: June 26, 2024                                              RUDOLPH CONTRERAS
                                                                  United States District Judge




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